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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

                          CASE NO. 10-CV-21612 CMA/ALTONAGA-BROWN


     PALADIN SHIPPING CO. LTD.
     A Foreign corporation, and
     ANATOLIY CHABAN, individually

            Plaintiff,
     vs.

     STAR CAPTIAL FUND, LLC, a Florida
     Limited Liability Company and
     LEON GOLDSTEIN, individually

           Defendants.
     ________________________________/
     VERNAL USA, INC., a California Corp,

            Intervening Plaintiff,

     vs.

     PALADIN SHIPPING CO., LTD,
     a foreign corporation and
     ANATOLIY CHABAN, an individual,

           Defendants.
     __________________________________/

       DEFENDANTS PALADIN SHIPPING CO. LTD AND ANATOLIY CHABAN’S
          AMENDED COUNTERCLAIM FOR DECLARATORY JUDGMENT

            Counter-Plaintiffs, Paladin Shipping Co., Ltd and Anatoliy Chaban sues Counter-

     Defendant, Vernal USA, Inc. and alleges as follows:




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                                JURISDICTION, VENUE AND PARTIES

               1.   This is a compulsory counterclaim for declaratory judgment under the

     Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, to declare void the

     judgment Vernal seek to enforce because it was obtained by fraud and collusion.

               2.   Counter-Plaintiff Paladin is a corporation organized under the laws of

     Belize.

               3.   Counter-Plaintiff Chaban is an individual over the age of 18, otherwise sui

     juris, residing in the Ukraine.

               4.   Counter-Defendant Vernal is a corporation organized under the laws of

     California.

                                       GENERAL ALLEGATIONS

               5.   On January 24, 2013 this Court entered its $1,055,572.72 Supplemental

     Final Judgment in favor of Counter-Plaintiffs against Leon Goldstein.

               6.   Less than one month later, on February 22, 2013 Vernal’s assignor North

     Star, recorded, for the very first time, an alleged UCC security interest arising out of a

     purported Loan and Security Agreement (“Loan Agreement”) between North Star as

     lender and Goldstein and Goldstein’s alleged company, Pinnacle Three Corporation, a

     Florida corporation, (“Pinnacle FL”) as borrower. A copy of the Loan Agreement is

     attached hereto as Exhibit “1.” The Loan agreement indicates it was executed in 2007.

               7.   As part of executing the Loan Agreement, Goldstein also purportedly

     executed a Mortgage in favor of North Star, securing an interest in real property in

     Miami-Dade County, Florida owned by Goldstein.              Like the Loan Agreement, the

                                                   2

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     Mortgage was dated March 1, 2007 but not recorded in the public records of Miami-Dade

     County until February 20, 2013, almost six (6) years after its execution—but just

     seventeen (17) days after entry of the Counter-Plaintiffs Supplemental Final Judgment

     against Goldstein.

            8.      The asserted basis for North Star recording its security interest in

     February, 2013, was that it loaned Goldstein and Pinnacle FL money in March, 2007, but

     they did not repay it.

            9.      Pinnacle FL did not exist in March, 2007. The corporate entity was not

     formed until January, 2008.

            10.     Prior to Counter-Plaintiffs instituting the instant action, Pinnacle FL was

     nothing more than a shell. Rather, not until Counter-Plaintiffs had already won a money

     judgment against Goldstein in the instant action, on August 22, 2012 did Leon Goldstein

     transfer any assets to Pinnacle Fl. On that day, Goldstein transferred all the assets in

     Pinnacle IL to Pinnacle FL.

            11.     The transfer was backdated to December 31, 2008 or January 1, 2009.

     Thus, the earliest date that Pinnacle FL had assets was either December 31, 2008 or

     January 1, 2009.

            12.     Upon information and belief no monies ever went from North Star to

     Goldstein and Pinnacle FL. Rather it was simply a fraudulent scheme concocted to jump

     Counter-Plaintiff’s January, 2013 judgment in priority.




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            13.     Prior to filing a complaint in State Court to enforce its Loan Agreement,

     North Star attempted to intervene in this action to enforce its recorded security interest,

     which intervention was denied.

            14.     When that strategy failed, North Star filed a Complaint in Miami Dade

     County, Case Number 13-26657 CA 01, styled North Star Maritime, Inc. v. Pinnacle

     Three Corporation and Leon Goldstein. (the “State Court Action”). A copy of the

     Complaint in the State Court Action is attached hereto as Exhibit “A” (“State Court

     Complaint”).

            15.      The State Court Action, which took all of 12 days from filing to stipulated

     final judgment, was nothing more than fraud and collusion between Goldstein and North

     Star (an entity owned and operated by his long-time friend Oleksandr Yelizarov).

            16.     Specifically, the State Court Complaint was filed on August 14, 2013.

     Although summonses were issued on August 15, 2013, Goldstein and Pinnacle FL were

     never personally served, which of course was not necessary because Goldstein, to defraud

     Counter-Plaintiffs out of their rights under the Supplemental Final Judgment in this

     action, agreed to a Stipulated Final Judgment for $3,054,540.05, entered 12 days later on

     August 26, 2013 and recorded as a judgment lien on August 30, 2013.

            17.     North Star’s judgment has been assigned to Vernal, who now stands in the

     shoes of North Star.

            18.     The stipulated final judgment of North Star/Vernal is based on fraud,

     collusion and other misconduct of the parties thereto.



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               19.   Specifically, North Star knew there was no basis to record its purported

     security interest on February 22, 2013 as it had never loaned the money under the Loan

     Agreement and therefore obtained no secured interest in the property of Goldstein and

     Pinnacle FL.

               20.   Similarly Northstar, by the filing of the State Court Complaint, and

     Northstar, Goldstein (and Pinnacle acting through Goldstein) by entering into the

     Stipulated Final Judgment fraudulently misrepresented there were legal grounds to

     support same.

               21.   In reality, the fraudulent and intentional institution of the State Court

     Action through to Stipulated Final Judgment was nothing more than a fraud upon the

     court which caused damage to Counter-Plaintiffs regarding the force and effect of their

     judgment lien created by the Stipulated Final Judgment herein.

               22.   Counter-Plaintiffs, though strangers to the State Court Action may attack

     it as voidable because enforcement of the judgment adversely affects their substantial

     rights.

               23.   All conditions precedent to the filing of this counterclaim have occurred,

     or otherwise been waived or excused.

               24.   Counter-Plaintiffs have agreed to pay their attorneys’ a reasonable fee for

     their services in this matter.

                                COUNT I-DECLARATORY JUDGMENT

               25.   Counter-Plaintiffs realleges Paragraphs 1-24, above, as if fully set forth

     herein.

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            26.     An actual case and controversy exists between the parties that may be

     adjudicated by this Court. Indeed, there is a substantial controversy between Counter-

     Plaintiffs and Counter-Defendant of sufficient immediacy and reality to warrant the

     issuance of a declaratory judgment.

            27.     Counter-Defendant has taken the position that its judgment lien certificate

     gives it priority over Counter-Plaintiffs as to Goldstein's personal property.

            28.     Counter-Plaintiffs’ position is that they have priority over Counter-

     Defendants as to Goldstein's personal property, including Goldstein's interest in the

     impleaded corporate entities.

            29.     Specifically, as outlined above Counter-Defendants' judgment lien

     certificate is void and of no effect as it is based on a voidable final judgment obtained

     through fraud, collusion and other misconduct of the parties to the judgment who 1)

     intended a fraud on the state court and 2) intended a fraud on Counter-Plaintiffs, as

     creditors of Goldstein, the defendant to the voidable fraudulent judgment.

            WHEREFORE, Counter-Plaintiffs, requests that this Honorable Court enter a

     Judgment:

            A.      Declaring that Counter-Defendant’s state court judgment upon which its

                    judgment lien certificate is based is void and of no effect

            B.      That Counter-Plaintiffs have priority over Counter-Defendants as to all of

                    Goldstein's personal property, including his interest in the Goldstein

                    corporations; and

            C.      Granting such other and further relief as this Court deems just and proper.

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                                              CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on December 8, 2014, I electronically filed the

     foregoing document with the Clerk of the Court using CM/ECF; and service will be made

     either via transmission of Notice of Electronic Filing generated by CM/ECF or in some

     other authorized manner for those counsel or parties who are not authorized to receive

     electronically Filing.



                                                            /s/ Jeffrey B. Shalek
                                                            Jeffrey B. Shalek




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